Case 18-23307-CMG           Doc 99
                          Filed 12/08/21 Entered 12/08/21 09:55:04                         Desc Main
                         Document
  UNITED STATES BANKRUPTCY COURT       Page 1 of 2
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)

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  In Re:                                                 Case No.:                 18-23307
                                                                            ______________________

   Wilbur & Kim Mallory                                   Judge:                   CMG
                                                                          ______________________

                                                         Chapter:                    13




                  CHAPTER 13 DEBTOR=S CERTIFICATION IN OPPOSITION


       The debtor in this case opposes the following (choose one):

       1.       ☐ Motion for Relief from the Automatic Stay filed by _____________________________ ,
                creditor,

                A hearing has been scheduled for ____________________________, at __________.


                ☐ Motion to Dismiss filed by the Chapter 13 Trustee.

                                                          12/15/2021
                A hearing has been scheduled for ____________________________,       9am
                                                                               at ___________.


                ☐ Certification of Default filed by _______________________________,

                I am requesting a hearing be scheduled on this matter.


           2.   I oppose the above matter for the following reasons (choose one):

                ☐ Payments have been made in the amount of $ ___________________, but have not
                been accounted for. Documentation in support is attached.
Case 18-23307-CMG         Doc 99       Filed 12/08/21 Entered 12/08/21 09:55:04                  Desc Main
                                      Document      Page 2 of 2



              ☐ Payments have not been made for the following reasons and debtor proposes
              repayment as follows (explain your answer):




              ☐ Other (explain your answer):
              My mortgage company was transferred in August. I will file a modified plan to
              apply for a loan modification with my new company.



      3.      This certification is being made in an effort to resolve the issues raised in the certification
              of default or motion.

      4.      I certify under penalty of perjury that the above is true.



Date: _______________________
      11/22/2021                                                   /s/Wilber Mallory
                                                                  ______________________________
                                                                  Debtor=s Signature

Date: _______________________                                     ______________________________
                                                                  Debtor=s Signature




NOTES:

1.    Under D.N.J. LBR 4001-1(b)(1), this form must be filed with the court and served on the Chapter
      13 Trustee and creditor, if applicable not later than 7 days before the date of the hearing if filed in
      opposition to a Motion for Relief from the Automatic Stay or Chapter 13 Trustee=s Motion to
      Dismiss.

2.    Under D.N.J. 4001-1 (b)(2), this form must be filed with the court and served on the Chapter 13
      Trustee and creditor, if applicable not later than 14 days after the filing of a Certification of
      Default.




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